               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL CASE NO. 1:19-cv-00285-MR-WCM


BRO T. HESED-EL,                 )
                                 )
                   Plaintiff,    )
                                 )
             vs.                 )                       ORDER
                                 )
JOHN DOE, et al.,                )
                                 )
                   Defendants.   )
________________________________ )

       THIS MATTER comes before the Court upon the Plaintiff’s Motion to

Proceed In Forma Pauperis [Doc. 4].1

       The Plaintiff seeks to proceed with this civil action without having to

prepay the costs associated with prosecuting the matter. [Doc. 4]. Upon

review of the Plaintiff’s Motion, the Court finds that the Plaintiff has sufficient

resources from which to pay the filing fee required for this action.

       IT IS, THEREFORE, ORDERED that the Plaintiff’s Motion to Proceed

In Forma Pauperis [Doc. 4] is DENIED.




1 The Court notes that in the present motion, the Plaintiff lists a different street address,
telephone number, and email address from what are listed in his Complaint. The Plaintiff
is admonished that he must notify the Clerk’s Office of any changes to his contact
information and that his pleadings must reference his most recent street address,
telephone number, and email address. See Fed. R. Civ. P. 11.


       Case 1:19-cv-00285-MR-WCM Document 5 Filed 12/03/19 Page 1 of 2
      IT IS FURTHER ORDERED that the Plaintiff shall pay the required

$400.00 filing fee within thirty (30) days of entry of this Order. Failure to pay

the required filing fee within thirty (30) days of the entry of this Order

will result in the dismissal of this action.

      IT IS SO ORDERED.         Signed: December 3, 2019




                                         2



      Case 1:19-cv-00285-MR-WCM Document 5 Filed 12/03/19 Page 2 of 2
